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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

                             CASE NO. 22-CV-81294-CANNON

  DONALD J. TRUMP,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  ________________________________/

                        JOINT MOTION TO UNSEAL
              REDACTED GLOBAL ISSUES BRIEFS FILED UNDER SEAL

         The United States of America and Plaintiff Donald J. Trump jointly move this Court

  to unseal their redacted briefs to the Special Master concerning certain “global issues”

  identified in the course of the Special Master’s review process. See Docket Entry (“D.E.”) 171,

  173. D.E. 171 is the redacted version of the Plaintiff’s memorandum, while D.E. 173 is the

  redacted version of the government’s memorandum. Both filings can be unsealed and made

  available on the public docket because the parties have redacted any information covered by

  the Special Master’s Protective Order. D.E. 113, ¶ 3. Also, each party has reviewed the other

  party’s proposed redacted filing and has no objection to the other party’s proposed redactions.

         WHEREFORE, the United States and Plaintiff Donald J. Trump respectfully request

  that the Clerk of Court shall UNSEAL and file on the public docket Docket Entries 171 and

  173.
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                                                  Respectfully submitted,

                                                  On behalf of the United States

                                                  /s Juan Antonio Gonzalez
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                                                  On behalf of the Plaintiff, Donald J. Trump:

                                                  /s James M. Trusty
                                                  JAMES M. TRUSTY
                                                  Ifrah Law PLLC
                                                  CHRISTOPHER M. KISE
                                                  Chris Kise & Associates, P.A.
                                                  LINDSEY HALLIGAN
                                                  M. EVAN CORCORAN
                                                  Silverman, Thompson, Slutkin, White, LLC



                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 9, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices of

  Electronic Filing generated by CM/ECF.



                                           s/ Juan Antonio Gonzalez
                                           Juan Antonio Gonzalez
                                           United States Attorney
